          Case 2:19-cv-00239-GMS Document 7-1 Filed 03/12/19 Page 1 of 1




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                               IN THE UNITED STATES DISTRICT COURT
 7
                                  FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,
                                                      No. CV-19-00239-PHX-GMS
10               Plaintiffs,
     v.                                               ORDER
11
12   Jeffrey Bardwell and Fanny F. Bardwell,

13               Defendants.

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15
               The Court having reviewed the Stipulated Motion to Defer the Parties' Exchange of
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     Initial Mandatory Discovery Responses, and good cause appearing,
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               IT IS ORDERED granting the Parties' Stipulated Motion to Defer the Exchange of
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     Initial Mandatory Discovery Responses.
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               IT IS FURTHER ORDERED the Parties shall exchange their initial MIDP
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     disclosures or the Plaintiff's counsel shall lodge a substitution of counsel on or before
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     March 27, 2019.
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               Dated this _____ day of March, 2019.
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